       Case 3:05-cr-05828-RBL           Document 228         Filed 09/14/07      Page 1 of 3



 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT TACOMA

10    UNITED STATES OF AMERICA,
11                   Plaintiff,
                                                                  Case No. CR05-5828FDB
12            v.
                                                                  ORDER DENYING DEFENDANT
13    KEVIN TUBBS, JOSEPH DIBEE,                                  WATERS’ MOTION TO
      JOSEPHINE S. OVERAKER, JUSTIN                               DISQUALIFY PROSECUTOR
14    SOLONDZ, and BRIANA WATERS,
15                   Defendants.
16
            Defendant Waters moves to disqualify AUSA Andrew Friedman from participation as an
17
     attorney in this case because of his participation in the production of a 302 report, which Defendant
18
     Waters contends suppressed critical evidence. Waters asserts that she
19
     “... fully intends to question Special Agents Halla and Torres about the quality of their work and the
20
     accuracy of their 302s, as well as Agent Halla’s deceptive testimony before the grand jury.” She
21
     contends that this will be difficult, however, with AUSA Friedman being in the courtroom and
22
     possible delivering closing argument. Waters asserts that because AUSA Friedman was involved
23
     with the interview of Jennifer Kolar and in the preparation of the 302, it will be impossible for the
24
     jury to determine Agents Halla’s and Torres’ credibility without also determining AUSA Friedman’s
25

26   ORDER - 1
       Case 3:05-cr-05828-RBL            Document 228         Filed 09/14/07      Page 2 of 3



 1   credibility. Thus, because AUSA Friedman has become a witness in the case, he cannot continue as

 2   the prosecutor.

 3          The Government responds that the motion is not only without merit, it is also untimely,

 4   having been filed after the motion cut-off date of March 2, 2007.

 5          This motion concerns the interview of Jennifer Kolar on December 16, 2005 wherein she,

 6   accompanied by her attorney, Michael Martin, met with FBI Special Agents Ted Halla and Anthony

 7   Torres and AUSA Andrew Friedman. The May 21, 2001 arson of the University of Washington

 8   Center for Urban Horticulture was discussed, during which, Kolar did not identify Briana Waters as

 9   one of the persons who committed the arson, but described as participants a girl from Capitol Hill

10   and her punk boyfriend Crazy Dan, and herself and Avalon (William Rodgers). Kolar’s Counsel

11   Michael Martin will testify that on December 29, 2005, Kolar called him and said that she

12   remembered that the lookout at the University of Washington arson was Briana Waters. At Kolar’s

13   direction, Mr. Martin called AUSA Friedman on approximately January 5, 2006 and provided

14   Waters’ name and described her role in the arson.

15          It is important that a party moving to disqualify a prosecutor make a strong showing of

16   necessity. See, e.g., United States v. Bolden, 353 F.3d 870, 878 (10th Cir. 2003)(“The

17   disqualification of Government counsel is a drastic measure and a court should hesitate to impose it

18   except where necessary.”) A “party seeking such testimony [of a prosecutor] must demonstrate that

19   the evidence is vital to his case, and that his inability to present the same or similar facts from another

20   source creates a compelling need for the testimony.” United States v. Watson, 952 F.2d 982, 986

21   (8th Cir. 1991); see also, United States v. Tamura, 694 F.2d 591 (9th Cir. 1982)(requiring a

22   compelling need for a prosecutor to testify). A defendant “has an obligation to exhaust other

23   available sources of evidence before a court should sustain a defendant’s efforts to call a participating

24   prosecutor as a witness.” United States v. Prantil, 764 F.2d 548, 554 (9th Cir. 1985). While AUSA

25   Friedman participated in the Kolar interview, he did so with two FBI Special Agents, who are

26   ORDER - 2
       Case 3:05-cr-05828-RBL          Document 228        Filed 09/14/07     Page 3 of 3



 1   available to testify about the interview. Moreover, Waters’ counsel will be able to cross-examine

 2   Kolar. Waters has not made the required showing of necessity to call AUSA Friedman as a witness.

 3

 4          NOW, THEREFORE, IT IS ORDERED: Defendant Waters’ Motion To Disqualify

 5   Prosecutor [Dkt. # 186] is DENIED.

 6

 7          DATED this 13th day of September, 2007.

 8

 9

10
                                          A
                                          FRANKLIN D. BURGESS
                                          UNITED STATES DISTRICT JUDGE
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26   ORDER - 3
